Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 1 of 50 Page ID
                                 #:9144




                      EXHIBIT 35
                       PART 1
         REDACTED Version of Document Filed Under Seal
   Pursuant to Court Order Dated October 28, 2016 (Docket No. 141)
                       and Pending Court Order
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 2 of 50 Page ID
                                 #:9145




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -66-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 3 of 50 Page ID
                                 #:9146




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -67-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 4 of 50 Page ID
                                 #:9147




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -68-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 5 of 50 Page ID
                                 #:9148




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -69-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 6 of 50 Page ID
                                 #:9149




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -70-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 7 of 50 Page ID
                                 #:9150




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -71-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 8 of 50 Page ID
                                 #:9151




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -72-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 9 of 50 Page ID
                                 #:9152




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -73-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 10 of 50 Page ID
                                  #:9153




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -74-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 11 of 50 Page ID
                                  #:9154




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -75-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 12 of 50 Page ID
                                  #:9155




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -76-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 13 of 50 Page ID
                                  #:9156




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -77-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 14 of 50 Page ID
                                  #:9157




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -78-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 15 of 50 Page ID
                                  #:9158




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -79-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 16 of 50 Page ID
                                  #:9159




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -80-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 17 of 50 Page ID
                                  #:9160




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -81-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 18 of 50 Page ID
                                  #:9161




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -82-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 19 of 50 Page ID
                                  #:9162




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -83-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 20 of 50 Page ID
                                  #:9163




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -84-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 21 of 50 Page ID
                                  #:9164




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -85-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 22 of 50 Page ID
                                  #:9165




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -86-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 23 of 50 Page ID
                                  #:9166




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -87-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 24 of 50 Page ID
                                  #:9167




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -88-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 25 of 50 Page ID
                                  #:9168




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -89-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 26 of 50 Page ID
                                  #:9169




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -90-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 27 of 50 Page ID
                                  #:9170




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -91-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 28 of 50 Page ID
                                  #:9171




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -92-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 29 of 50 Page ID
                                  #:9172




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -93-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 30 of 50 Page ID
                                  #:9173




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -94-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 31 of 50 Page ID
                                  #:9174




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -95-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 32 of 50 Page ID
                                  #:9175




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -96-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 33 of 50 Page ID
                                  #:9176




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -97-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 34 of 50 Page ID
                                  #:9177




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -98-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 35 of 50 Page ID
                                  #:9178




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                      -99-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 36 of 50 Page ID
                                  #:9179




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -100-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 37 of 50 Page ID
                                  #:9180




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -101-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 38 of 50 Page ID
                                  #:9181




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -102-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 39 of 50 Page ID
                                  #:9182




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -103-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 40 of 50 Page ID
                                  #:9183




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -104-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 41 of 50 Page ID
                                  #:9184




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -105-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 42 of 50 Page ID
                                  #:9185




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -106-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 43 of 50 Page ID
                                  #:9186




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -107-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 44 of 50 Page ID
                                  #:9187




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -108-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 45 of 50 Page ID
                                  #:9188




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -109-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 46 of 50 Page ID
                                  #:9189




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -110-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 47 of 50 Page ID
                                  #:9190




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -111-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 48 of 50 Page ID
                                  #:9191




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -112-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 49 of 50 Page ID
                                  #:9192




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -113-
Case 2:15-cv-03378-JFW-MRW Document 237-2 Filed 11/09/16 Page 50 of 50 Page ID
                                  #:9193




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -114-
